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                  IN THE UNITED STATES DISTRICT COURT
                   FOR THE EASTERN DISTRICT OF TEXAS
                           MARSHALL DIVISION



 TESSERA ADVANCED TECHNOLOGIES,              Case No. 2:17-cv-00671-JRG
 INC.

                    Plaintiff,               JURY TRIAL REQUESTED
  v.

 SAMSUNG ELECTRONICS CO. LTD. AND
 SAMSUNG ELECTRONICS AMERICA,
 INC.,

                    Defendants.



             TESSERA ADVANCED TECHNOLOGIES, INC.’S REPLY
                      CLAIM CONSTRUCTION BRIEF
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                   Construction Brief

       21          Supplemental Declaration of Dr. Jack Lee

       22          U.S. Patent Application 2004/0187303 (TATI-SAM-00011470)

       23          U.S. Patent No. 5,604,379 (SAMS232-0028192)

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I.     TESSERA’S CONSTRUCTIONS SHOULD BE ADOPTED

       A.      “external electrode” / “external electrode terminal”

       The Court should reject Samsung’s proposed constructions, as it is now apparent that

Samsung intends for “external” to be construed in a way that means “internal.” Although Samsung

claims to agree that the “external electrode terminals” and “external electrode” are structures that

physically connect a chip to “external equipment,” (i.e., equipment external to the packaged chip),

Samsung’s brief reveals that it intends to argue, via its faulty constructions, that they actually

connect to terminals internal to the packaged chip.

       Specifically, Samsung contends that “external electrode terminals” and “external

electrodes” can be internal connections inside the packaged chip because the claims and

specification do not teach that the invention relates to “CSP, WLCSP, or any other type of

semiconductor package.” (Samsung Br. at 1, 11.) Samsung is mistaken. As the specification

states, the “present invention relates to a semiconductor device . . . that allows a high-density

packaging provided with wires or electrodes that connect the semiconductor integrated circuit

section to the terminals of external equipment.” (’298 patent at 1:6-13.) The patents describe “a

technique to form [a] CSP (chip size package) within semiconductor wafers” called “wafer level

CSP,” and they are directed to overcoming a problem arising in “conventional wafer level CSP.”

(Id. at 1:16-22.) Indeed, Samsung itself acknowledged in its IPR petitions that the ’298 and ’616

patents are “directed to forming a ‘chip size package’ or ‘chip-scale package’ (CSP) ‘within

semiconductor wafers,’ also known as a ‘wafer level CSP.’” (Ex. 6 at 4-5; Ex. 7 at 4-5.)

       Nor does Samsung address Dr. Lee’s unrebutted testimony that the “external electrode

terminals” and “external electrodes” must mediate connections outside the packaged chip to

achieve the patents’ objective “to provide a semiconductor device that allows high-speed

transmission of signals between the semiconductor device and external equipment while


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compactness is achieved.”1 (’298 patent at 2:32-36; Ex. 1 ¶ 44.) And it is well-settled that the

claims should be construed to achieve the goals of the patent. See Asyst Techs. Inc. v. Emtrak,

Inc., 402 F.3d 1188 (Fed. Cir. 2005) (rejecting construction “in tension with . . . the objectives of

the [patent] as expressed in the specification and the prosecution history”); Praxair, Inc. v. ATMI,

Inc., 543 F.3d 1306, 1324 (Fed. Cir. 2008) (construing claims as necessary to “achieve the overall

object of the invention”).2

       Samsung’s remaining arguments against Tessera’s constructions have no merit. Samsung

argues that a single extrinsic reference, U.S. Patent 5,604,379, shows an “external electrode” as an

internal interconnection between a die and its package. But Samsung misreads the patent. The

patent describes “solder ball 37” as “external

electrode[s]” or “external terminals” when they

are used as terminals on the outside of a

conventional wire-bond package. (Ex. 23 at Fig.

16, 1:32-54; Ex. 21 ¶ 6.)3 Samsung also argues that the prosecution history supports its position

because the patentee did not raise Tessera’s construction in distinguishing a prior art reference.

(Samsung Br. at 12-13.) This argument fails because there is no requirement that a construction



1
 As Dr. Lee explains, if the claims were construed to cover only an internal portion of the signal
path between the die and the outside of the package, the claims would not guarantee a short signal
path appropriate for high-speed or high-frequency signals. Ex. 1 ¶ 44.
2
 Tessera inadvertently cited the consistent Praxair instead of Asyst Techs. in its opening brief.
Both cases are consistent.
3
  Consistent with Tessera’s construction, the ’379 patent consistently refers to terminals on the
outside of the package as “external” terminals or electrodes. (See, e.g., Ex. 23 at Fig. 10, 4:48-55
(identifying terminal on the outside of wafer level package as an “external electrode”), 1:32-37
(identifying solder balls on the “bottom surface of the package used as external terminals”).)
Samsung also misquotes the patent—the patent does not refer to solders balls connected to a
“package substrate,” it refers to solder balls connected to a “packaged substrate 18,” which is a
mounting surface external to the packaged chip. (Id. 6:28-37; Ex. 21 ¶ 5.)


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be raised during prosecution, especially when it is not necessary to overcome the prior art. But

more importantly, the patentee never adopted any position that is contrary to Tessera’s proposed

constructions. Cf. Omega Eng'g, Inc. v. Raytek Corp., 334 F.3d 1314, 1325 (Fed. Cir. 2003)

(“[F]or prosecution disclaimer to attach, our precedent requires that the alleged disavowing actions

or statements made during prosecution be both clear and unmistakable.”). Samsung further

contends that Tessera’s construction reads out an embodiment where the “external electrode

terminal” is a portion of the “external electrode,” but the basis for Samsung’s argument is the

position of the external electrode in an embodiment where the external electrode terminal is not a

portion of the external electrode. (Samsung Br. at 11 (referencing the “insulating film 17” shown

in the embodiment of the patents’ figures).)

       Samsung’s constructions are erroneous for at least two additional reasons. First, Samsung

imports the limitations “configured to contact an ‘external electrode terminal’” and “metallic ball,

conductive bump, or a portion of the [first/second] external electrode” from the examples provided

in the specification. But limiting claim terms to the examples provided in the embodiments is not

proper. Thorner v. Sony Comput. Entm't Am. LLC, 669 F.3d 1362, 1365-66 (Fed. Cir. 2012) (“It

is likewise not enough that the only embodiments, or all of the embodiments, contain a particular

limitation.”). And none of the language Samsung identifies in the specification to support these

extra limitations gets anywhere close to the required definition or disclaimer. See id.

       Second, while Samsung contends that its constructions give meaning to the phrase

“external” by referencing “external equipment,” Samsung does not dispute that it intends to read

its constructions on internal connections between a die and its package substrate in a “flip-chip”

ball grid array package. (Samsung Br. at 10.) Samsung’s construction is ambiguous and should

be accordingly rejected. See, e.g., USA Video Tech. Corp. v. Time Warner Cable, Inc., No. 2:06-




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CV-239, 2007 WL 4365773, at *12 (E.D. Tex. Dec. 12, 2007) (construing term to avoid jury

confusion based on a jury’s natural inclination to find terms synonymous); Tessera, Inc. v. Micron

Tech., Inc., 423 F. Supp. 2d 624, 631 (E.D. Tex. 2006) (rejecting language that would confuse a

jury as an attempt by defendants “to use claim construction as a plank in its trial strategy without

any concomitant benefit to the jury” (citing Sulzer Textil A.G. v. Picanol N.V., 358 F.3d 1356,

1366 (Fed. Cir. 2004))). Samsung seeks leeway to draw an arbitrary line between purported

“internal” and “external” structures—effectively reading “external” out of the claim. The Court

should enter Tessera’s construction precisely to give clarity and meaning to the term “external.”

       B.      “thick conductive film selectively on the first, thin conductive film”

       Samsung appears to have abandoned any argument that the term “selectively” is indefinite

and now asserts that the words “thick” and “thin,” render this term indefinite. While Samsung

never previously made this argument, it also fails. (Ex. 24 at 108-10.) 4

       A term is definite where “the patent’s claims, viewed in light of the specification and

prosecution history, inform those skilled in the art about the scope of the invention with reasonable

certainty.” Nautilus, 134 S. Ct. at 2129. A term may have “some modicum of uncertainty” so

long as the patent “apprise[s]” persons of skill in the art “of the scope of the inventions.” Id. at

2128. Here, there is no question that persons of skill in the art are apprised of the scope of the

inventions. The “thick” and “thin” terms refer to the fact that the “thick conductive film” is thicker

than the “thin conductive film.”

       The definiteness of this term is confirmed by the intrinsic record. First, surrounding

limitations in claim 1 of the ’616 patent describe removing a whole “portion” of the “thin



4
   Samsung’s invalidity contentions did state that the term “substantially continuous, thin
conductive film” was indefinite, but Samsung did not identify that term for construction. (Ex. 24
at 108-09.)


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conductive film” while removing “only an upper portion” of the thick conductive film. (’616

patent at claim 1.) Persons of skill in the art would understand that “only an upper portion” of the

thick conductive film is removed because the thick conductive film is thicker than the thin

conductive film. (Ex. 21 ¶ 2.) Likewise, the specification discloses a well-known technique called

“electroplating” in which a thin conductive film is first deposited to act as a seed or adhesion layer.

(’298 patent at 9:27-32; Ex. 21 ¶ 2.) Next, the thin conductive film is charged to facilitate

deposition of a thicker conductive film on portions of the thin conductive film (e.g., to form a

wire). (’298 patent at 9:27-32; Ex. 21 ¶ 2.) In the preferred embodiment of the figures, the thin

conductive film is deposited with a thickness of 0.7 μm. (’298 patent at 9:11-17.) The thick

conductive film is then electroplated with a thickness of 10 μm. (Id. at 9:27-32.)

       The definiteness of this term is also confirmed by the extrinsic evidence because its usage

in the patents “aligns with the term’s ordinary meaning understandable to those skilled in the art.”

Finjan, Inc. v. Proofpoint, Inc., 13-cv-05808, 2015 WL 7770208 at *12 (N.D. Cal. Dec. 3, 2015).

As Dr. Lee explains, techniques like electroplating that use a combination of a thin conductive

film and a thick conductive film are well known in the art. (Ex. 1 ¶¶ 50-52.) The terms “thin” and

“thick” are commonly used to distinguish the thicker electroplated film from the thinner seed film.5

(Ex. 21 ¶ 2; see Ex. 22 ¶ 40 (describing depositing “a thick layer of sputtered, evaporated or

preferably electroplated metal 60” on a “seeding metallurgy 50”).) Indeed, that is precisely how

Samsung’s expert used the term before the PTAB. (Ex. 25 at 46 (“A POSA would have known

that, as compared to sputtering, electroplating is a faster and less expensive method that enables



5
 As the patent describes, thin conductive film seed layers are commonly made of materials like
TiW and deposited in small quantities using electroless processes like sputtering, vacuum
evaporation, or CVD. (’616 patent at 8:8-10, 9:15-21; Ex. 21 ¶ 3.) The seed layers generally
have worse electrical properties than the thicker electroplated layers, and as a result, they are
kept appreciably thinner. (Id.)


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 the selective formation of significantly thicker conductive films.”), 122 (“Sputtering and

 electroplating differ only in how the second, thick film is formed and patterned . . . .”); see also

 Ex. 9 at 79 (“The process of selectively patterning a thick top layer of conductive film on a seed

 layer is commonly used in the prior art to create sharper conductive patterns.”).) Samsung

 admitted that this was common usage in its invalidity contentions: “as a PHOSITA would have

 commonly known by the late 1990s, semiconductor devices are often fabricated using ‘through-

 mask’ plating processes with multiple layers of conductors to produce sharper and more vertical

 conductor patterns whereby thicker conductive layers on top of thin conductive films are used as

 connecting wires to connect to element electrodes and/or as a masking element.” Ex. 24 at 87-88.

         Finally, Samsung’s own statements to the PTAB contradict its argument that these terms

 are indefinite. Neither Samsung nor its expert told the PTAB that the terms “thick conductive

 film” or “thin conductive film” were indefinite. To the contrary, Samsung and its expert readily

 understood their meaning and applied them precisely as Tessera proposes. (See, e.g., Ex. 25 at 61-

 62 (“The thicker copper and gold film thus disclose a ‘second, thick conductive film’ formed on

 the ‘first, thin conductive film.’”), 65 (“Yanagida discloses forming BLM films 6a, 6b, and 6c

 comprising a thin lowermost ‘Cr film’ and a thicker combined ‘Cu film and . . . Au film’ on the

 Cr film . . . .”), 122 (“Tokushige’s electroplating method first sputters a continuous ‘Cu thin film

 layer 6’ (0.1-0.2μm thick), which later serves as ‘plating electrode,’ and then, using a resist pattern,

 selectively electroplates a thicker ‘wiring layer 7’ (2-5μm thick) on portions of the plating

 electrode not covered by the resist.”); Ex. 9 at 79.)

         C.      “fill up”

         Samsung apparently intends to argue to the jury that the term “fill up” requires that the

 thick conductive film be as thick as the side walls of the opening in the insulating film. (E.g.,

 Samsung Br. at 26.) Samsung’s interpretation cannot be squared with plain meaning, the claims,


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 or the specification.

        As Tessera explained in its opening brief, the phrase “so as to fill up the first opening and

 the second opening” in claim 1 of the ’616 patent specifies where the thick conductive film is

 “selectively formed”—it is not a requirement as to the thickness of the film. (’616 patent at claim

 1 (forming a second, thick conductive film selectively on the first, thin conductive film so as to

 fill up the first opening and the second opening and extend over portions of the first, thin

 conductive film between the first and second openings”); (Ex. 1 ¶ 49.). This is reinforced by the

 specification, which discloses several preferred embodiments in which the thickness of thick

 conductive film (10 μm) is much smaller than the height of the walls of the openings in the

 insulating film (20 μm, 50 μm, or more). (’616 patent at 8:8-14, 8:63-67, 9:31-36, 12:21-27.) This

 is further confirmed by dictionary definitions of the plain meaning of “to fill” an opening or gap,

 which includes to “plug” or span the gap. (See Ex. 10 at 509; Ex. 11 at 659; Ex. 12 at 434-35; Ex.

 13 at 956; Ex. 14 at 418.)

        Samsung’s plain meaning arguments are unavailing. Samsung argues that other definitions

 of the term “fill up” include to “make or become full to capacity, fill completely.” (Samsung Br.

 at 26.) While that may be one of the definitions, limiting the claim to that definition would be

 improper because when multiple plain meanings are consistent with a specification, the plain and

 ordinary meaning of the term is broad enough to encompass both—as Tessera’s construction

 reflects. See Inverness Med. Switz. GmbH v. Warner Lambert Co., 309 F.3d 1373, 1379 (Fed. Cir.

 2002) (“[A] word that has an ordinary meaning encompassing two relevant alternatives may be

 construed to encompass both alternatives.”). To the extent the definitions do conflict, the conflict

 should be resolved in favor of Tessera’s construction because, as discussed above, Tessera’s

 construction is consistent with the intrinsic evidence. The definitions identified by Tessera relate




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 to filling a hole or opening—as do the claim terms. (See Ex. 10 at 509 (defining “fill” as “to stop

 or plug up (an opening, for example).”); Ex. 13 at 956 (defining “fill” as “[p]lug (a hole or gap)

 with material”); Ex. 14 at 418 (defining “fill” as “[t]o plug up (e.g., an opening)”).) Samsung’s

 “fill completely” definition, by contrast, is inconsistent with the patent’s disclosure of numerous

 embodiments in which the thick conductive film is not thick enough to fill the opening completely.

 (Ex. 21 ¶ 9.)6

        Samsung argues that its interpretation does not read out the preferred embodiment shown

 in the figures of the ’616 patent. Samsung is mistaken. Samsung’s argument rests entirely on

 conclusions drawn from measuring patent figures that are not to scale. (Ex. 21 ¶ 9.) A patent

 figure that is not to scale cannot overcome the disclosure in the specification. See Hockerson

 Halberstadt, Inc. v. Avia Grp. Int’l, Inc., 222 F.3d 951, 956 (Fed. Cir. 2000) (“[I]t is well

 established that patent drawings do not define the precise proportions of the elements and may not

 be relied on to show particular sizes if the specification is completely silent on the issue.” (internal

 citations omitted)). As the specification explains, the thick conductive film of the embodiment of

 the figures is 10 μm in thickness. (’616 patent at 9:31-36.) The thin conductive film of the figures

 is 0.7 μm in thickness. (’616 patent at 8:8-14.) Together the conductive films are 10.7 μm in

 height. By contrast, the insulating film (in which the openings are formed) is 20 μm in height.

 (’616 patent at 8:63-67.) The conductive films of the embodiment of the figures will thus fill the

 opening in the insulating film to only about half of the height of the opening. (Ex. 21 ¶ 9.)7



 6
  Samsung also contends that Tessera conflates “fill up” with “fill.” Not so. Tessera’s
 construction embraces only embodiments in which the opening is fully spanned or plugged—not
 embodiments where only an incomplete portion of the opening has been covered.
 7
   Samsung argues that the height of the element electrode 11 should be added to the height of the
 films. This is wrong. The insulating film is formed on top of the element electrodes—it is not
 filled by the element electrodes. (’616 patent at 8:63-67 (“[A] low elastic modulus layer 14 is


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        Samsung also reads out other embodiments in which the insulating film (and thus the

 sidewalls of the opening) are even larger. (Ex. 21 ¶¶ 9-10.) In particular, the patent discloses that

 in preferred embodiments, the insulating film is “about 50 μm or more.” (’616 patent at 12:21-

 23.) That means that the conductive film will fill even less of the opening in the insulating film—

 not fill it “completely” as Samsung contends. Aware of this problem, Samsung contends that the

 thickness of the conductive films must be scaled to account for the increasing height of the

 openings. (Samsung Br. at 23.) But neither Samsung nor its expert point to any disclosure in the

 specification to support this argument. Cf. Rohm and Haas Co. v. Brotech Corp., 127 F.3d 1089,

 1092 (Fed. Cir. 1997) (“Nothing in the rules or in our jurisprudence requires the fact finder to

 credit the unsupported assertions of an expert witness.”). Samsung cannot use attorney argument

 and unsupported expert testimony to overcome the express disclosure in the ’616 patent’s

 specification. See Philips v. AWH Corp., 415 F.3d 1303, 1318 (Fed. Cir. 2005) (“[A] court should

 discount any expert testimony ‘that is clearly at odds with the claim construction mandated by the

 claims themselves, the written description, and the prosecution history, in other words, with the

 written record of the patent.’”).

        D.       “a protective film formed … having a property of repelling conductive
                material” / “forming a protective film having a property of repelling
                conductive material”

        Samsung does not cite a single piece of evidence purporting to show that the claims “fail

 to inform, with reasonable certainty, those skilled in the art about the scope of the invention.”

 Nautilus, 134 S. Ct. at 2124. Rather, Samsung focuses on the strawman argument that Tessera

 allegedly argues that these terms are coextensive with the “solder resist film” used in the patents’

 preferred embodiments. (Samsung Br. at 28.) This is not and has never been Tessera’s position.


 formed on the semiconductor substrate 10 so as to cover the element electrodes . . . .”). As a
 result, the insulating film will rise about 20 μm above the element electrodes. (Ex. 21 ¶ 8.)


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        As Tessera explained in its opening brief, the term “having a property of repelling

 conductive material” has a well-understood meaning in the field of the patents, and the patents use

 solder resist films as an example of such a material. Tessera presented unrebutted argument and

 evidence that a material has a property of repelling conductive material when it is unwettable by

 conductive material. (See, e.g., Tessera Br. at 21-22; Ex. 1 ¶¶ 42, 54.) The materials that have a

 property of repelling conductive material (e.g., solder resists), are well-known and well-understood

 by persons of skill in the art. (Ex. 1 ¶¶ 54, 58.) Tessera pointed to a wealth of extrinsic evidence

 of persons of skill in the art applying the term without confusion and in the manner described by

 Tessera. Ex. 17 at 4; Ex. 18 at 11:48-51; Ex. 19 at 12-13; Ex. 20 at 74.) None of this evidence is

 addressed or rebutted in Samsung’s brief.

        In attempt to reconcile its current position with the position it took in its IPRs—where

 Samsung and its expert readily understood what these terms mean—Samsung argues that Interval

 Licensing LLC v. AOL, Inc., 766 F.3d 1364 (Fed. Cir. 2014) allows “invalidity defense using a

 reference that teaches the embodiments disclosed in an asserted patent’s specification while

 simultaneously maintaining an indefiniteness challenge.” (Samsung Br. at 19.) First, Interval

 Licensing says nothing about the ability of an expert to apply an indefinite claim term to the prior

 art. Id. at 1367 n.2 (mentioning but not ruling on the propriety of a co-pending reexamination

 proceeding). Second, Samsung does not and cannot dispute that its expert interpreted these terms

 exactly the way Tessera does, and never once implied or stated that one of ordinary skill in the art

 would not understand what they mean. These terms are not indefinite.




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                                 CERTIFICATE OF SERVICE
        I hereby certify that a copy of the foregoing document was filed electronically in

 compliance with Local Rule CV-5(a). Therefore, this document was served on all counsel who

 are deemed to have consented to electronic service. Local Rule CV-5(a)(3)(A). Pursuant to Fed.

 R. Civ. P. 5(d) and Local Rule CV-5(d) and (e), all other counsel of record not deemed to have

 consented to electronic service were served with a true and correct copy of the foregoing by email

 on this the 24th day of August, 2018.


                                                      /s/ Andrea Fair
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